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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                                                                  ' Z9Ii JUL ,"4 P y 20
                                      (Alexandria Division)
                                                                                                      COURT
MONA LISA BERRY,

       Plaintiff,

V.                                                      Case No. #l:16-cv-_

TARGET CORPORATION,

Serve: CT Corporation System
       4701 Cox Road, #285
       Glen Allen, VA 23060

and


JONAS GARCIA,
3215 S. 24"^ Street, #417
Arlington, VA 22206

       Defendant.




                                          COMPLAINT


                            Preliminary and Jurisdictional Statement


       1. While shopping at defendant Target Corporation's store in Falls Church, Virginia,

Mona Lisa Berry, an African-American woman, was profiled and surveilled by Target loss

prevention personnel. When she approached merchandise held out for sale near the store's

entrance door, loss prevention employee Jonas Garcia detained her for suspected shoplifting,

referring to her by a racial slur in the bargain. She was handcuffed in the store's loss prevention

interrogation area, where Target personnel discovered that she had sufficient cash and credit

cards to pay for the merchandise in her cart and that she had not concealed any Target
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merchandise in her purse. Notwithstanding, Target procured her arrest and prosecution for grand

larceny. Having been found notguilty by a jury, Ms. Berry now seeks compensation from Target

and Mr. Garcia for racial discrimination in contracting under federal law, targeted surveillance

amounting to harassment on the basis of herrace, false imprisonment, andmalicious prosecution

in violation of state law. This case arises under 42 U.S.C. §1981 and the court has jurisdiction

under 28 U.S.C. §1331. The court has supplemental jurisdiction over Ms. Berry's state law

claims, which arise out of the identical facts underlying her federal claims, under 28 U.S.C.

§1367.




                                               Parties


         2. Mona Lisa Berry is a 47-year-old adult resident of Arlington, Virginia and a long-time

customer of Target stores. She is African-American.

         3. Target Corporation is a corporation incorporated and with its principal place of

business in the State of Minnesota. Under the name Target Stores, Inc., it does business in Falls

Church, Virginia at its store. Skyline Target, located at 5115 Leesburg Pike, Falls Church.

         4. Jonas Garcia was, at the time relevant to this action, an employee of Skyline Target,

where he worked as a Senior Asset Protection Specialist.



                                          Claim for Relief


         Target Securitv


         5. Target operates large department stores that sell a variety of goods, including home

goods, clothing, and food.


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       6. At its Skyline location,.Target employs different security measures to prevent

shoplifting.

        7. Skyline Target's security measures include surveillance cameras that record discrete

areas of the store, cameras that loss preventionpersonnel can operate to follow individuals

engaging in suspected suspicious behavior, and loss prevention personnel who follow suspected

shoplifters on foot throughout the store.

        8. Shoppers entering or exiting Skyline Target must passthrough two sets of automatic

sliding doors. To exit the store, shoppers must passthrough the interior set of doors, which feeds

into a lobby or foyer, and then pass through an exterior set of doors, which feeds into a parking

lot. The two sets of doors are separated by about fifteen feet of carpeted open space stretching

beyond the width of the doors.

        9. On the inside of the interior set of doors are large security detectors, readily visible to

anyone walking into the store. The detectors set off an audio and visual alarm when merchandise

armed with a live security sensor passes through or gets too close. On information and belief, all

merchandise that costs $30.00 or more is equipped with a barcode that functions as a security

sensor that will trigger the alarm if not deactivated at the register upon purchase.

        10. As a further security measure, a video monitor situated inside the store, prominently

displayed and readily visible to anyone walking into the store, depicts all activity occurring in

front of and between the doors. Persons walking into the store see themselves on the screen

directly in front of them and know that they are being monitored. Such a monitor was in place in

front of the doors where Ms. Berry was taken into custody.




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       11. The exterior set of doors feeds directly into a gated parking lot, from which cars can

exit once the driver deposits an appropriate ticket or pays the appropriate fee.

       12. The gatedparking lot is marked throughout with signsadvertising Target's use of

video surveillance.


       13. As a long-time patron of Target, Ms. Berry was acquainted with the various security

devices and protocols described above, openly in use at the Skyline Target.



       Ms. Berrv Gets Profiled


       14. On August 29, 2014 at approximately 7:00 pm, Ms. Berry entered Skyline Target.

She proceeded throughout the store, with which she was familiar, looking at various merchandise

and putting home goods and clothing in her cart.

        15. Shortly after Ms. Berry entered the store, loss prevention employee Jonas Garcia

profiled heras a shoplifter on the basis of her race, as he himselflater confirmed to Ms. Berry.

He began following her movements on foot throughout the store and continued to do so for over

90 minutes.


        16. Ms. Berry saw Mr. Garcia following and watching her. Having nothing to hide, Ms.

Berrycontinued to shop, disregarding Mr. Garcia.

        17. At Mr. Garcia's request, other loss prevention personnel tracked her movements and

activity remotely with targeted video surveillance. The cameras depicted her doing nothing more

than shopping while black.

        18. Ms. Berryselected and placed into her cart a large, 20-gallon plastic storage

container and a rolled, 5'x7' area rug on sale for $49.


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       19. Ms. Berry putthe container and the rug into the Target shopping cartshe was using.

The five foot rug stuck out substantially from the cart, rendering it occasionally unwieldy to

maneuver. A still photo taken from Target's video surveillance footage, showing Ms. Berry with

these items in the cart, is attached as Exhibit A.

       20. On informationand belief, the rug and other items in Ms. Berry's cart were armed

with barcodes that would have triggered an alarm had they gone through the security detector

without having been scanned at the check-out register.

       21. At all times Ms. Berry understood that Target's security system couldand would alert

store security to the passage of unpaid merchandise through the security detectors prominently

stationed by each door.

        22. Skyline Target displays merchandise - often food or drink - on a row of large

wooden palates near the main entrance/ exitdoors. From the perspective of a shopper inside the

store facing the entrance/ exitdoors, the palates are stacked just inside and to the right of the

interior sliding doors, within a few feet of a security detector framing the doors. Depending on

how many palates are usedto stockitems for sale, the palates extend inside the store

approximately a dozen or more feet. Onthe occasion in question, the palates extended to the

edge of a carpeted areaapproximately 14' inside the store from the interior sliding doors. The

palates are not near any sales counter.

        23. Ms. Berrydecided to buy a bag of chips before proceeding to the check-out counter.

Seeing what appeared to be chips on some of thepalates by the entrance door, she maneuvered

herfull cart toward the palates, backed it out of the way of customers entering through the sliding

doors, then pulled the cart from its front end, as she reached with herother hand to select a bag of

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chips from the interior-most palate, approximately a dozen feet from the sliding door. At this

time she had been in the store about 90 minutes.




       Ms. Berry Gets Arrested


       24. As Ms. Berry prepared to proceed to the check out area, Mr. Garcia ran up to her,

took hold of her arm and told her to come with him, accusing her of shoplifting.

       25. Upon apprehending her, Mr. Garcia said into a cell phone or radio words to the effect

of "I got me another nigger."

       26. The circumstances did not reasonably permit the conclusion that Ms. Berry was

shoplifting. She was selecting merchandise that Target saw fit to make available for sale next to

a store door and immediately adjacent to a store security device, which was perfectly visibleand

which Ms. Berry, like most shoppers, understood would immediately alert security to possible

theft. Her cart included an unwieldy rug five feet tall and a twenty gallon plastic container. See

Exhibit A. Her activities, like those of all shoppers, were being monitored via video surveillance

and displayed conspicuously on a screen facing the entrance to the store, which she had seen

manytimes upon entering the store. Had she gone through the first sliding door, on the way out,

she would have had to traverse another approximately fifteen feet of open space, within the store

building, to an exterior slidingdoor. She would then haveexited into a gatedparking lot from

which she could exit to the public street only by paying or showing a sales receipt. Ms. Berry

knew all these things.




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       27. Ms. Berry was taken to a loss prevention interrogation room, where she was

handcuffed and was made to sit down on a chair. She remained calm and cooperative

throughout.

       28. Mr. Garcia went through the items in Ms. Berry's cart and separately combed

through her purse. He discoveredthat she had not concealedany Target merchandise in her

purse and that she had several hundred dollars in cash and credit cards in her wallet, sufficientto

pay for everything she had in her cart.

       29. While Ms. Berry was detained in the booking room, Mr. Garcia said words to the

effect of "Y'all come in here and steal." When Ms. Berry asked him who he was referring to

with the word "Y'all," Mr. Garcia did not respond. On information and belief, Mr. Garcia was

referring to African American women and/or African Americans generally.

       30. Mr. Garcia seized the merchandise in Ms. Berry's cart and did not let her purchase

what she had selected.


       31. Ms. Berryremained in handcuffs for approximately 40 minutes before a Fairfax

County police officer arrived to take her to jail.

       32. Mr. Garcia had Ms. Berry sign a paper acknowledging that she was banned from

entering Target property, and had her arrested and ultimately prosecuted for grand larceny.

       33. On information and belief, all of Mr. Garcia's actions here at issue, which are

attributable to Target, were motivated by the racial animus exemplified by his racially charged

comments.


       34. Ms. Berry was taken to Fairfax County Adult Detention Center for formal booking,

paid her own bail with the cash she had with her, and was released on recognizance.


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       35. Refusing any proposed plea bargain, on or about July 7, 2015, Ms. Berry went to

trial, where a jury found her not guilty of the grand larceny charges that Target pressed against

her.


       36. Ms. Berry has suffered emotional and psychological injury from being surveilled,

harassed and apprehended on the basis of her race, being referred to as a nigger for the first time

in her adult life, being handcuffed and arrested for shopping while black, and being forced to

defend herself against baseless criminal charges. As a result of this incident, she has also

experienced, and continues to experience, high levels of anxiety triggered by being in public

shopping areas, for which she has received treatment, and other emotional distress.



                                          Causes of Action


                              Count I: Violation of 42 U.S.C. §1981


       37. By holding out merchandise for sale to the public, Target entered into a proposed

contractual relationship with its patrons, including Ms. Berry, whereby Target would sell them

merchandise in exchange for money. Although Ms. Berry intended to purchase merchandise,

defendants, having racially profiled her, refused to sell to her while subjecting her to racial

epithets. By doing so, defendants interfered with her right to contractfreely without regard to

race, in violation of 42 U.S.C. §1981.




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                         Count II: Violation of Virginia Hate Crimes Act


       38. By surveilling, apprehending, detaining and otherwise harassing Ms. Berry with no

cause, and subjecting her to racist remarks. Target, through its agent Mr. Garcia, harassed Ms.

Berry on the basis of her race, in violation of Code ofVa. §8.01-42.1.



                                  Count III: False Imprisonment

       39. By initially detaining her without cause and continuing to detain her after their

investigation revealed that she had sufficientmoney to cover the purchase and that she had not

concealed merchandise in her purse, defendants caused Ms. Berry to be falsely imprisoned.



                                 Count IV: Malicious Prosecution


       40. By their actions set forth above, defendants maliciously prosecuted Ms. Berry.

                                                *   *   *




       Wherefore, Ms. Berry requests an order of the court granting her:

       *       An award of her actual damages in an amount appropriate to the proof at trial,

       *       An award of punitive damages appropriate to the proof at trial,

       *       Her costs, including reasonable attorney's fees, and

       *       Such other relief as is just.

       Ms, Berry requests trial by jury.

                                               Respectfully submitted,

                                               MONA LISA BERRY,

                                               By counsel


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Dated: July r/, 2016

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